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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

WILLIAM WARREN HOLLAWAY, IV                               CIVIL ACTION NO. 20-1077

                                                          SECTION P
VS.
                                                          JUDGE TERRY A. DOUGHTY

SHERIFF DUSTY GATES, ET AL.                               MAG. JUDGE KAREN L. HAYES

                                          JUDGMENT

       The Report and Recommendation of the Magistrate Judge [Doc. No. 8] having been

considered, together with the written Objection thereto filed with this Court, [Doc. No. 9] and,

after a de novo review of the record, finding that the Magistrate Judge’s Report and

Recommendation is correct and that judgment as recommended therein is warranted,

       IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff William Warren

Hollaway, IV’s claims, with respect to his requests for injunctive relief, are DISMISSED AS

MOOT.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims,

with respect to his requests for monetary compensation, are DISMISSED as frivolous and for

failing to state claims on which relief may be granted.

       MONROE, LOUISIANA, this 25th day of September, 2020.



                                                   ______________________________________
                                                   TERRY A. DOUGHTY
                                                   UNITED STATES DISTRICT JUDGE
